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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                 GREENBELT DIVISION



KILMAR ARMANDO ABREGO GARCIA,
et al.,

                           Plaintiffs,
           v.
                                                     Case No. 8:25-cv-00951 (PX)
KRISTI NOEM, Secretary of the Department of
Homeland Security, et al.,

                           Defendants.



Defendants’ Interim Motion to Seal Defendants’ Supplemental Brief on Plaintiffs’ Request
                         for Leave to File a Motion to Compel

       Pursuant to Local Rule 105.11 and the parties Stipulated Confidentiality Order, ECF No.

95, Defendants move to seal the accompanying Supplemental Brief on Plaintiffs’ Request for

Leave to File a Motion to Compel filed in compliance with the Court’s May 7, 2025, order. ECF

No. 115.

       Defendants represent the following facts to justify sealing under Local Rule 105.11. The

parties’ Stipulated Confidentiality Order requires a party to file under seal any materials that have

been designated as Confidential or Attorney’s Eyes Only. In particular, paragraph 2 of the

Confidentiality Order states:

                To the extent that any materials designated as Confidential or
                Attorney’s Eyes Only under this Confidentiality Order (or any
                pleading, motion, or memorandum disclosing them) are proposed to
                be filed or are filed with the Court, the portions of those materials
                containing Confidential or Attorney’s Eyes Only information shall
                be redacted by the filing party. Non-redacted versions shall be filed
                under seal (by the filing party) with the Clerk of the Court with a
                simultaneous motion pursuant to L.R. 104.13(c) (hereinafter the
                “Interim Sealing Motion”), in accordance with the current version
                of the Court's Electronic Filing Requirements and Procedures for


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              Civil Cases. The Interim Sealing Motion shall be governed by L.R.
              105.11, provided that the Court can deny an Interim Sealing Motion
              prior to 14 days in part or in full. Even if the filing party believes
              that the materials designated as Confidential or Attorney’s Eyes
              Only are not properly classified as Confidential or Attorney's Eyes
              Only, the filing party shall file the Interim Sealing Motion; provided,
              however, that the filing of the Interim Sealing Motion shall be
              wholly without prejudice to the filing party rights under paragraph
              (4) of this Confidentiality Order.

ECF No. 95.

       The accompanying Supplemental Brief on Plaintiffs’ Request for Leave to File a Motion

to Compel contains excerpts of Defendants’ responses to Plaintiffs’ amended interrogatories and

requests for production (in addition to descriptions of documents produced and the circumstances

surrounding their production), which Defendants have designated as “Confidential” and

“Attorney’s Eyes Only” under the Stipulated Confidentiality Order because they contain “sensitive

government information.” Publicly disclosing that sensitive information would likely harm

ongoing diplomatic negotiations.

       Further, consistent with Local Rule 105.11 and the Stipulated Confidentiality Order,

Defendants have simultaneously filed a public version of the accompanying Supplemental Brief

on Plaintiffs’ Request for Leave to File a Motion to Compel that redacts only the references to

materials that Defendants have designated as Confidential or Attorney’s Eyes Only and

descriptions of those materials and the circumstances surrounding their production. Alternatives

to sealing do not provide sufficient protection because the redacted portions of the responses

contain sensitive government information that could jeopardize ongoing diplomatic negotiations.




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                                             Respectfully submitted,

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                                             Acting Assistant Attorney General
                                             Civil Division

                                             s/Drew C. Ensign
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Dated: May 12, 2025                          Counsel for Defendants




                                CERTIFICATE OF SERVICE

       I certify that on May 12, 2025, I caused to be filed the foregoing document via CM/ECF,

which caused a copy to be served on all parties.


                                             /s/ Drew Ensign
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